                                           Case 2:22-cv-05833-JLS-MAA Document 1-1 Filed 08/17/22 Page 1 of 96 Page ID #:12



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                                                               E-mail: thomas.hill@hklaw.com
                                                          5            john.haney@hklaw.com
                                                          6    Attorneys for Defendant
                                                               ILLINOIS TOOL WORKS INC.
                                                          7

                                                          8                          UNITED STATES DISTRICT COURT
                                                          9                        CENTRAL DISTRICT OF CALIFORNIA
                                                          10

                                                          11   HOWARD M. EHRENBERG,        )      Case No.
                                                               CHAPTER 7 TRUSTEE FOR       )
                                                          12   JESUS LOPEZ,                )      DECLARATION OF JOHN H.
                       400 South Hope Street, 8th Floor




                                                                                           )      HANEY IN SUPPORT OF
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13                   Plaintiff,  )      DEFENDANT ILLINOIS TOOL
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                                                           )      WORKS INC.S NOTICE OF
                                                          14          vs.                  )      REMOVAL OF CIVIL ACTION
                                                                                           )
                                                          15   ILLINOIS TOOL WORKS INC., a )      [Removal of Los Angeles County
                                                               corporation; and DOES 1-10, )      Superior Court Case No. 22STCV22714]
                                                          16   inclusive,                  )
                                                                                           )
                                                          17                   Defendants. )
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                                                                  DECLARATION OF JOHN H. HANEY IN SUPPORT OF DEFENDANT
                                                               ILLINOIS TOOL WORKS INC.S NOTICE OF REMOVAL OF CIVIL ACTION
                                           Case 2:22-cv-05833-JLS-MAA Document 1-1 Filed 08/17/22 Page 2 of 96 Page ID #:13



                                                          1    I, JOHN H. HANEY, hereby declare as follows:
                                                          2          1.     I am an attorney-at-law duly licensed to practice before all courts in the
                                                          3    State of California, and I am an associate with Holland & Knight LLP, counsel of
                                                          4    record for Defendant Illinois Tool Works Inc. (ITW) in this matter. I have personal
                                                          5    knowledge of the facts stated herein, and, if called as a witness in this matter, I could
                                                          6    and would competently testify regarding those facts. I make this declaration in
                                                          7    support of ITWs Notice of Removal of Civil Action in the above-captioned matter.
                                                          8          2.     On July 14, 2022, Plaintiff Howard M. Ehrenberg, Chapter 7 Trustee
                                                          9    for Jesus Lopez (Plaintiff), filed the action styled Howard M. Ehrenberg, Chapter
                                                          10   7 Trustee for Jesus Lopez v. Illinois Tool Works, Inc., Case No. 22STCV22714, in the
                                                          11   Superior Court of the State of California, County of Los Angeles (hereinafter the
                                                          12   State Court Action). True and correct copies of the Summons and Complaint,
                       400 South Hope Street, 8th Floor
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13   related Court documents, and printout of the State Court Action docket, are attached
                             Fax: 213.896.2450
                             Tel: 213.896.2400




                                                          14   as Exhibit A.
                                                          15         3.     On July 18, 2022, Plaintiff served ITW with copies of the Summons,
                                                          16   Complaint and related Court documents. A true and correct copy of Plaintiffs
                                                          17   executed Proof of Service of Summons, Form POS-010, is attached as Exhibit B.
                                                          18   Exhibits A and B constitute all process, pleadings and orders in the State Court
                                                          19   Action.
                                                          20         4.     On August 16, 2022, ITW filed its Answer to Plaintiffs Complaint in
                                                          21   the Superior Court of the State of California, in and for the County of Los Angeles,
                                                          22   and served on Plaintiff on August 17, 2022. A true and correct copy of the Answer is
                                                          23   attached as Exhibit C.
                                                          24         5.     On August 17, 2022, I downloaded the Attorney Profile of Plaintiff
                                                          25   Howard M. Ehrenberg from the State Bar of California online database. A true and
                                                          26   correct copy of the Attorney Profile is attached as Exhibit D.
                                                          27

                                                          28
                                                                                              1
                                                                  DECLARATION OF JOHN H. HANEY IN SUPPORT OF DEFENDANT
                                                               ILLINOIS TOOL WORKS INC.S NOTICE OF REMOVAL OF CIVIL ACTION
                                           Case 2:22-cv-05833-JLS-MAA Document 1-1 Filed 08/17/22 Page 3 of 96 Page ID #:14



                                                          1          6.     On August 17, 2022, I downloaded the Statement of Information of
                                                          2    Plaintiff Howard M. Ehrenbergs law firm, SulmeyerKupetz, a Professional
                                                          3    Corporation, from the California Secretary of States online database. A true and
                                                          4    correct copy of the Statement of Information is attached as Exhibit E.
                                                          5

                                                          6          I declare under penalty of perjury, under the laws of the United States of
                                                          7    America and the State of California, that the foregoing is true and correct.
                                                          8

                                                          9          Executed this 17th day of August, 2022, at Sierra Madre, California.
                                                          10
                                                                                                    /s/ John H. Haney
                                                          11                                           John H. Haney
                                                          12
                       400 South Hope Street, 8th Floor
Holland & Knight LLP

                           Los Angeles, CA 90071




                                                          13
                             Fax: 213.896.2450
                             Tel: 213.896.2400




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                                                                  DECLARATION OF JOHN H. HANEY IN SUPPORT OF DEFENDANT
                                                               ILLINOIS TOOL WORKS INC.S NOTICE OF REMOVAL OF CIVIL ACTION
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         Case Number: 22STCV22714
         HOWARD M. EHRENBERG, CHAPTER 7 TRUSTEE FOR JESUS LOPEZ, VS ILLINOIS TOOL WORKS INC., A CORPORATION

         Filing Courthouse: Stanley Mosk Courthouse

         Filing Date: 07/14/2022
         Case Type: Wrongful Termination (General Jurisdiction)
         Status: Pending


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         FUTURE HEARINGS
         Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


         12/21/2022 at 08:30 AM in Department 37 at 111 North Hill Street, Los Angeles, CA 90012
         Case Management Conference




         PARTY INFORMATION
         Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


         CLARK TYLER FRANCIS - Attorney for Plaintiff

         HANEY JOHN H. - Attorney for Defendant

         HOWARD M. EHRENBERG CHAPTER 7 TRUSTEE FOR JESUS LOPEZ - Plaintiff

         ILLINOIS TOOL WORKS INC. - Defendant




         DOCUMENTS FILED
         Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


         Documents Filed (Filing dates listed in descending order)


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         08/16/2022 Answer
         Filed by Illinois Tool Works Inc. (Defendant)

         07/26/2022 Proof of Personal Service
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/22/2022 Notice (of Case Management Conference 2022-12-21)
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/20/2022 Proof of Personal Service
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/15/2022 Certificate of Mailing for ([Notice of Case Management Conference])
         Filed by Clerk

         07/15/2022 Notice of Case Management Conference
         Filed by Clerk

         07/14/2022 Notice of Case Assignment - Unlimited Civil Case
         Filed by Clerk

         07/14/2022 Voluntary Efficient Litigation Stipulation Packet
         Filed by Clerk

         07/14/2022 First Amended General Order re: Mandatory Electronic Filing
         Filed by Clerk

         07/14/2022 Alternate Dispute Resolution Packet
         Filed by Clerk

         07/14/2022 Summons (on Complaint)
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/14/2022 Civil Case Cover Sheet
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/14/2022 Complaint
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)



         PROCEEDINGS HELD
         Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


         Proceedings Held (Proceeding dates listed in descending order)
         None




         REGISTER OF ACTIONS
         Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


         Register of Actions (Listed in descending order)
         08/16/2022 Answer
         Filed by Illinois Tool Works Inc. (Defendant)

         07/26/2022 Proof of Personal Service
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/22/2022 Notice (of Case Management Conference 2022-12-21)
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/20/2022 Proof of Personal Service
         Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

         07/15/2022 Certificate of Mailing for ([Notice of Case Management Conference])
         Filed by Clerk

         07/15/2022 Notice of Case Management Conference
         Filed by Clerk

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         Filed by Clerk

         07/14/2022 First Amended General Order re: Mandatory Electronic Filing
         Filed by Clerk

         07/14/2022 Alternate Dispute Resolution Packet
         Filed by Clerk


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          07/14/2022 Summons (on Complaint)
          Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

          07/14/2022 Civil Case Cover Sheet
          Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

          07/14/2022 Complaint
          Filed by Howard M. Ehrenberg, Chapter 7 Trustee for Jesus Lopez (Plaintiff)

          07/14/2022 Notice of Case Assignment - Unlimited Civil Case
          Filed by Clerk

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                        1        HOLLAND & KNIGHT LLP
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                        2        John H. Haney (SBN 299970)
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                                 E-mail: thomas.hill@hklaw.com
                        5                john.haney@hklaw.com

                        6        Attorneys for Defendant
                                 ILLINOIS TOOL WORKS INC.
                        7

                        8
                                                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        9
                                                                                     COUNTY OF LOS ANGELES
                        10
                                 HOWARD M. EHRENBERG, CHAPTER 7                                             ) Case No.: 22STCV22714
                        11       TRUSTEE FOR JESUS LOPEZ,                                                   )
                                                                                                            ) Assigned to Dept. 37
                                                              Plaintiff,                                    ) Hon. Gail Killefer
                                                                                                            )
                                            vs.                                                             ) DEFENDANT ILLINOIS TOOL
                                                                                                            ) WORKS INC.'S ANSWER TO
                                 ILLINOIS TOOL WORKS INC., a                                                ) COMPLAINT
                                 corporation; and DOES 1-10, inclusive,                                     )
                                                                                                            )
                                                              Defendants.                                   )
                                                                                                            )
                                                                                                            )
                                                                                                            )
                                                                                                            )
                        18                                                                                  ) Complaint Filed: July 14, 2022
                                                                                                            ) Trial Date:        None
                        19       ________________                                                           )
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                                                        DEFENDANT ILLINOIS TOOL WORKS INC. 'S ANSWER TO COMPLAINT


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         ELARATION OF JOHN H. HANEY IN SUPPORT OF D
                                 NOTICE OF REMOVAL OF CIVIL
        ACTION




              I declare under penalty of perjury under the laws of the United States of
         America that the above is true and correct.

                                                YVONNE CEBALLOS
